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10
                                UNITED STATES DISTRICT COURT
11
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
                                      WESTERN DIVISION
13
      UNITED STATES OF AMERICA ex                    No. 2:16-cv-07937-JLS-ASx
14    rel. MELINA EBU-ISAAC and the
      States of CALIFORNIA, COLORADO,                Hon. Josephine L. Staton
15    CONNECTICUT, DELAWARE,
      FLORIDA, GEORGIA, HAWAII,                      THE UNITED STATES’ NOTICE OF
16    ILLINOIS, INDIANA, IOWA,                       CONSENT TO DISMISSAL
      LOUISIANA, MASSACHUSETTS,
17    MICHIGAN, MINNESOTA,
      MONTANA, NEVADA, NEW
18    MEXICO, NEW YORK, NORTH
      CAROLINA, OKLAHOMA, RHODE
19    ISLAND, TENNESSEE, TEXAS,
      VERMONT, VIRGINIA,
20    WASHINGTON, the CITY OF
      CHICAGO and the DISTRICT OF
21    COLUMBIA,
22                Plaintiffs,
23                       v.
24    INSYS THERAPEUTICS, INC.,
      LINDEN CARE LLC, LINDEN CARE,
25    INC., LINDEN CARE HOLDINGS,
      INC., BELHEALTH INVESTMENT
26    PARTNERS, LLC, BELHEALTH
      INVESTMENT MANAGEMENT, LLC,
27    BELHEALTH INVESTMENT FUND,
      LP, QUICK CARE PHARMACY, INC.,
28    HAROLD BLUE, DENNIS DRISLANE,
                                                 1
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 1    AND INDER TALLUR.
 2                Defendants.
 3
 4          On May 30, 2023, relator Melina Ebu-Isaac (“Relator”) filed a Notice of
 5    Dismissal of her qui tam claims against the above-captioned defendants (“Defendants”)
 6    pursuant to a settlement agreement executed on May 4, 2023 (the “Settlement
 7    Agreement”). Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(1), and in
 8    consideration of defendants’ payment of the federal portion of the FCA Settlement
 9    Amount set forth in Paragraph 1.A of the Settlement Agreement, to the United States, the
10    United States hereby notifies the Court of its consent to dismissal of Relator’s qui tam
11    claims against Defendants with prejudice as to the Covered Conduct and otherwise
12    without prejudice to the United States.
13
14     Dated: May 30 2023                    BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General,
15                                           Civil Division
                                             E. MARTIN ESTRADA
16                                           United States Attorney
                                             JACK D. ROSS
17                                           Assistant United States Attorney
18                                           JAMIE ANN YAVELBERG
                                             PATRICIA L. HANOWER
19                                           KRISTEN M. MURPHY
                                             Civil Division, Department of Justice
20
21                                           s/ Kristen M. Murphy
22                                           KRISTEN M. MURPHY
                                             Trial Attorney, United States Department of
23                                           Justice
24                                           Attorneys for the United States of America
25
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